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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

  STANLEY JONES, BLACK SPICE FARMS,                        Case No.: 3:21-cv-237-DPM
  INC., BRITT JONES, INC., HOGBACK
  FARM, INC., J-CO FARMS, NORTH 40
  FARMS, INC., S&W FARMS, SIB FARMS,
  T&W FARMS, and SLOUGH FARMS, INC.,
  individually and on behalf of all those similarly
  situated,

                     Plaintiffs,

  V.

  CORTEVA, INC. and CORTEVA
  AGRISCIENCE LLC,

                     Defendants.


                   STIPULATED GENERAL PROTECTIVE ORDER

                                             SCOPE

       1.      The protections conferred by this Order cover the treatment of all information

contained in documents, depositions, deposition exhibits, interrogatory answers, responses to

requests for admissions, responses to requests for production of documents, initial disclosures,

and other written, recorded, computerized, electronic, and graphic matter produced by any party

or non-party (a "Producing Party") in the above-styled case (the "Action") and to all copies,

excerpts, summaries, compilations, testimony, conversations, presentations, documents, or

records that include, communicate, or reveal designated confidential matter, which are

themselves deemed to constitute confidential matter of the same type whether or not so marked

or designated (collectively "Discovery Material").

               DESIGNATING PROTECTED DISCOVERY MATERIAL

       2.      Any Producing Party may designate as "Confidential" part or all of Discovery
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  V.

  CORTEVA, INC. and CORTEVA
  AGRISCIENCE LLC,

                      Defendants.




              ACKNOWLEDGEMENT AND AGREEMENT TOBEBOUND

       I, _   __ _ _
                   _ [print or type fu 11 name], declare under penalty of perjury thatl

have read in its entirety and understand the Stipulated General Protective Order (the "Order")

executed on --------� 2022 in the action entitled Stanley Jones et al. vs. Corteva,

Inc. et a.I, Case No. 3:21-cv-237-DPM (E.D. Ark.) ("Action"). I agree to comply with and to be

bound by all the terms of that Order. I solemnly promise that I will not disclose in any manner

any matter or item that is subject to this Order to any person or entity, except in strict compliance

with the provisions of this Order. I understand and acknowledge that my failure to comply with

the Order could expose me to sanctions and punishment in the nature of contempt. For the

purpose of enforcing the terms of this Acknowledgement and Agreement to be Bound, I further

agree to submit to the jurisdiction of the United States District Court for the Eastern District of

Arkansas, solely with respect to any action to enforce the terms of the Order, even if the



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